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                         EXHIBIT
                         EXHIBIT A
                                 A
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                            MANAGEMENT AGREEMENT

         THIS MANAGEMENT AGREEMENT is made and entered into as of the 8th
day of August, 2016, by and between Charter Schools USA at Berkeley, LLC., license to
do business in South Carolina (“CSUSA”), and Berkeley Charter Education Association,
Inc., doing business as Mevers Berkeley School of Excellence, a South Carolina non-profit
corporation (the “Charter School”).

                                          RECITALS

        WHEREAS, the Charter School has an approved charter application (the “Charter
Application”) for the operation of Mevers Berkeley School of Excellence located at TBD_
to the South Carolina Public Charter School District (the “Sponsor’”) to operate a public
charter school; and

          WHEREAS,     the Charter School has determined that it is in its best interest to
contract with a qualified and competent educational service provider to operate the Charter
School; and

          WHEREAS,     CSUSA       is in the business of developing, managing, staffing, and
operating public charter schools for non-profit boards; and

          WHEREAS, the Charter School wishes to hire CSUSA, and CSUSA wishes to be
hired by Charter School to manage and operate the Charter School upon the terms and
conditions set forth herein; and

       NOW, THEREFORE, for mutual and valuable consideration, the receipt and
adequacy of which is hereby acknowledged, the parties agree with each other as follows:

                                    ARTICLE I
                            CONTRACTING RELATIONSHIP

        A.     Authority. The Charter School represents that it is authorized by law to
contract with CSUSA and for CSUSA to provide educational management services to the
Charter School. The Charter School further represents that it has a Charter Application
which has been approved by the Sponsor to organize and operate a public charter school.
The Charter School either has already or will enter into a charter contract with the Sponsor
(the “Charter Contract").    The    Charter School   is therefore authorized   by the Charter
Application, Charter Contract and the Sponsor to supervise and control such charter school,
and is invested with all powers necessary or desirable for carrying out the educational
program contemplated in this Agreement.

        B.     Agreement. The Charter School hereby contracts with CSUSA, to the
extent permitted by law, for the provision of all labor and supervision necessary for the
provision of educational services to students, and the management, operation and


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 maintenance of the Charter School in accordance with the educational goals, curriculum,
 methods of pupil assessment, admission policy and criteria, school calendar and school day
 schedule, age and grade range of pupils to be enrolled, educational goals, and method to
 be used to monitor compliance with performance of targeted educational outcomes, all as
 adopted by the Charter School’s Board of Directors (the “Board”) and included in the
 Charter Contract between the Charter School and the Sponsor.             CSUSA’s obligations to
the Charter School shall be only as expressly set forth in this Agreement.         Duties required
to be carried out for the operation of the Charter School which are not expressly set forth
herein as being CSUSA’s responsibility shall remain the Board’s sole responsibility.

         C.     Designation of Agents. The Board designates the employees of CSUSA
as agents of the Charter School having a legitimate educational interest such that they are
entitled to access to educational records under 20 U.S.C. §1232g, the Family Rights and
Privacy Act (“FERPA”) and other applicable law.              The Board, subject to its discretion,
hereby authorizes CSUSA to communicate with and negotiate on the Board’s behalf with
all state and governmental agencies, as directed by the Board.

          D.           Status of the Parties.   CSUSA is a Florida limited liability company, and
is not a division or a part of the Charter School. The Charter School is a South Carolina,
non-profit corporation or a Limited Liability Corporation with 501(c) (3) IRS designation
(pending) authorized by the Charter Contract, and is not a division or part of CSUSA. The
parties to this Agreement intend that the relationship created by this Agreement is that of
an independent contractor and does not create an employer employee relationship. Except
as expressly provided in this Agreement, no agent or employee of CSUSA shall be deemed
to be the agent or employee of the Charter School. CSUSA shall be solely responsible for
its acts and the acts of its agents, employees and subcontractors. The relationship between
CSUSA and the Charter School is based solely on the terms of this Agreement, and the
terms of any other written agreements between CSUSA and the Charter School.

                                                ARTICLE II
                                                  TERM

        This Agreement shall be effective as of the date first written above and shall
continue for an initial term consistent with the term of the Charter Contract unless
terminated or cancelled earlier in accordance with this Agreement, or for good cause,
                                                                                      as
agreed by CSUSA and the Charter School. After the initial term, then the term of the
Agreement shall be extended (i) to the extent CSUSA              performs in accordance with the
terms of this Agreement, (ii) in the event that the Charter Contract is extended or replaced,
or (iii) in the event the Board approves the extension by express vote. The term of
                                                                                      the
extension of the Agreement shall correspond to the length of the Charter Contract unless
this Agreement is otherwise terminated or cancelled earlier in accordance with this
Agreement, or for good cause, as agreed by CSUSA and the Charter School. Nothing
contained in this Agreement shall be construed to restrict or prevent the Charter School
from entering into a Management Agreement with any other party for any school
                                                                              other
than the Charter School that is the subject of this Agreement,



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                                              ARTICLE III
                                          FUNCTIONS OF CSUSA

        A.      Responsibility. CSUSA shall be responsible and accountable to the Board
for the operation and performance of the Charter School in accordance with the Charter
Contract. CSUSA’s responsibility is expressly limited by: (i) the Charter School’s Annual
Budget, which is to be submitted and approved by the Board as provided in this Agreement,
and (ii) the availability of state funding to pay for said services. Neither CSUSA nor the
Charter School shall be required to expend Charter School funds on services in excess of
the amount set forth in the Charter School’s Annual Budget. There is nothing in the
Agreement which shall delegate the ultimate authority of the Charter School.

        B.   Educational Program.    CSUSA agrees to implement the Educational
Program. The Educational Program curriculum and related methods and materials are
proprietary to CSUSA. In the event CSUSA determines that it is necessary to modify the
Educational Program, CSUSA shall inform the Board of the proposed changes and obtain
Board approval, and if required under the Charter Contract, approval of the Sponsor. The
parties hereto acknowledge that an essential principle of the Educational Program are their
flexibility, adaptability and capacity to change in the interest of continuous improvement
and efficiency, and that the Charter School and CSUSA are interested in results and not in
inflexible prescriptions. Not less than annually, and otherwise as requested, CSUSA                     will
provide the Board with updated reports on progress towards implementing each of the
Charter School’s educational goals in the Educational Program.

          C.           Specific Functions.       CSUSA shall be responsible for the management,
Operation, accounting and Educational Program at the Charter School.                        Such functions
include:

          l.           Perform day-to-day management of the Charter School, in accordance with
                       this Agreement, the non-profit purpose of the Charter School, the Charter
                       Contract and subject to the direction given by the Charter School;

          2.           Implement and administrate the Educational Program, including the
                       selection of instructional materials, personnel, equipment, technology and
                       supplies,   and   the   administration   of extra-curricular   and     co-curricular
                       activities and programs approved by the Charter School.        Perform repeated
                       evaluation, assessment and continuous improvement of the educational
                       curriculum and program development and report findings to the Charter
                       School upon its request;

          3.           Management, selection, and application of technology services required to
                       facilitate operation of the school;




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           4,          Manage personnel functions, including professional development for the
                       Charter School Administrator and instructional personnel and the personnel
                       functions    outlined   in Article VI   of this Agreement   including   drafting
                       operations manuals, forms (including teacher offer letters, applications,
                       enrollment and similar forms), and management procedures, as the same are
                       from time to time developed by CSUSA and as approved or requested by
                       the Charter School;

           5.          Management of the business administration of the Charter School;

          6.           Management of the accounting operation, including general ledger
                       management and financial reporting including identifying and applying for
                       non-competitive grants (competitive grants may include fees for application
                       preparation and ongoing management for reporting and compliance),
                       spending and administering any associated grant funding obtained in
                       compliance     with the specific terms and conditions of said grants and
                       participating in any audits related thereto, and     preparing   the proposed
                       annual budget for presentation to the Charter School for modification,
                       amendment or approval; provided that any modifications or amendments
                       shall be approved by express vote of the Charter School and be consistent
                       with the staffing and educational models set forth in the Charter Contract,
                       and that CSUSA will abide by any express spending instructions given by
                       Charter School, and authorized by its Board, at any time; and,

          7.           Any other function necessary or expedient for the administration of the
                       Charter School pursuant to the Charter Contract.


          D.    Purchases. Purchases made by CSUSA on behalf of the Charter School
with the Charter School’s funds, such as non-proprietary instructional and/or curriculum
materials, books and supplies, and equipment will be the property of the Charter School.
CSUSA shall own all proprietary rights to, and the Charter School’s proprietary interest
shall not include, curriculum or educational materials that are developed or copyrighted or
similarly protected by CSUSA, including without limitation curriculum or educational
materials that are developed by CSUSA with funds from the Charter School. CSUSA’s
educational materials and teaching techniques used by or at the Charter School shall be
subject to disclosure to the extent required by law. This provision does not apply to any
capital items leased or purchased by CSUSA with CSUSA’s own funds.

          E.           Subcontracts. CSUSA shall not subcontract the management, oversight or
operation of the teaching and instructional program, except as specifically permitted in this
Agreement or with approval of the Board. CSUSA reserves the right to subcontract any
and all aspects of all services it agrees to provide to the Charter School.




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         F,     Place of performance. CSUSA reserves the right to perform functions
 other than instruction, such as purchasing, professional development, and administrative
 functions, off-site, unless prohibited by state or local law.

        G.      Ongoing Student Recruitment.         CSUSA shall develop and manage
ongoing recruitment of students subject to general recruitment and admission policies of
the Charter School. Students shall be selected in accordance with the procedures set forth
in the charter Contract and in compliance with applicable laws. CSUSA shall present a
plan to the Charter School to solicit and recruit enrolment of students by various means,
which may include but shall not be limited to the following: paid and unpaid media
advertisements in a newspaper of general circulation, mailings to parents/guardians of
prospective students, word-of-mouth and presentations to interested groups and distribute
information through advertisements.

        H.      Due Process Hearings. CSUSA shall, at the Board’s direction, provide
student due process hearings in conformity with the requirements of state and federal law
regarding discipline, special education, confidentiality and access to records, to an extend
consistent with the Charter School’s own obligations, and if necessary retain counsel on
behalf of the School.         The Board shall retain the right to provide due process as required
by law.

        I.      Legal Requirements. CSUSA shall provide Educational Programs that
meet federal, state, and local requirements, and the requirements imposed under applicable
laws and the Charter Contract, unless such requirements are or have been waived.

        J.     Rules and Procedures.        CSUSA shall recommend reasonable rules,
regulations and procedures applicable to the Charter School and is authorized and directed
to enforce such rules, regulations and procedures adopted by the Charter School.

          K.           School Year and School Day.     The school year and the school day shall
be as required by law and as determined annually by the Board.

        L.     Pupil Performance Standards and Evaluation.            CSUSA shall be
responsible and accountable to the Board for the performance of students who attend the
Charter School.          CSUSA will utilize assessment strategies required by the terms of the
Charter Contract. The Board and CSUSA will cooperate in good faith to identify measures
of and goals for Charter School students and school performance, including but not limited
to academic achievement and parent satisfaction. CSUSA shall perform its duties and
responsibilities as set forth in this Agreement to the reasonable satisfaction of the Board.

        M.      Services to Disabled Students and Special Education.         CSUSA shall
provide special education services to students who attend the Charter School in conformity
with the requirements of state and federal law. CSUSA may subcontract as necessary and
appropriate for the provision of services to students whose special needs cannot be met
within the Charter School’s program, subject to approval of the Board. Such services shall
be provided in a manner that complies with local, state and federal laws and applicable


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 regulations and policies. Consistent herewith, the Board acknowledges the individualized
 nature of services that may need to be provided to disabled and special needs students and
 the impact that the provision of such individualized services may have on the Annual
 Budget.         The Board and CSUSA mutually agree to adjust the Annual Budget as deemed
 necessary with respect to the provision of services to disabled and special needs students
 under this paragraph, as required by law.

            N.         Contract between the Charter School and the Sponsor. CSUSA will not
 act in a manner that will cause the Charter School to be in breach of its Charter Contract
 with the Sponsor.

         O.     Unusual Events. CSUSA agrees to timely notify the Board and/or school
 administrator of any anticipated or known: (i) material health or safety issues, (ii) labor,
 employee or funding problems, or (iii) problems of any other type that could adversely
 affect the Charter School in complying with its responsibilities hereunder or its
 responsibilities under the Charter Contract.

         P.      Student and Financial Records. Al! student and financial information
 related to the Charter School shall be available for inspection at the Charter School upon
 reasonable request consistent with applicable federal and state laws.

         Q.      Charter School Records/Proprietary.         The financial, educational and
 student records pertaining to the Charter School are Charter School property, and such
 records are subject to the provisions of the applicable freedom of information act(s) to the
extent required by applicable law.            All Charter School records shall be physically or
electronically available, upon request, at the Charter School. Except as prohibited under
the Charter Contract and applicable law, the Sponsor and the public shall have access to
the Charter School’s records.

           R.          CSUSA Performance Goals.

           a)          Timely submission of required reports set forth in this Agreement;

           b)          Strict adherence to the approved Annual Budget for the operation and
                       management of the Charter School, with no aggregate cost over-runs; and

           c)          Such performance goals contained within the Charter Contract and the
                       Charter Application

         S.      Educational and Other Services. Upon Board approval, CSUSA shall
provide certain educational and other services. Such services may include but
                                                                                     are not
limited to certain technology services, proprietary curriculum and other instructional
                                                                                        tools
as well as school development services which may be provided by CSUSA, its affiliates
                                                                                           or
third party entity.




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                                            ARTICLE IV
                                    OBLIGATIONS OF THE BOARD

          A.           Good Faith Obligation.      The Board shall be responsible for its fiscal and
academic policy. The Board shall exercise good faith in considering the recommendations
of CSUSA, including but not limited to, CSUSA’s recommendations concerning policies,
rules, regulations and budgets.          If the Board’s unwillingness to adopt CSUSA’s reasonable
recommendations with respect to policies, rules, and regulations specifically inhibits
CSUSA’s ability in implementing the school design as set forth in the Charter Application,
CSUSA shall have the option of terminating this Agreement. Any material changes to the
Board’s bylaws may be grounds for termination by CSUSA to the extent those changes
create obligations for CSUSA without prior approval.


        B.      Assistance to CSUSA. The Charter School shall cooperate with CSUSA
in furnishing all information and submitting all forms and reports required in association
with this Agreement, including timely notice of all Board meetings. The Charter School
shall timely furnish CSUSA all documents and records necessary for CSUSA to properly
perform its responsibilities under this Agreement. Governing Board members will comply
with mandated compliance requirements and remain current with all such requirements
throughout the duration of this agreement.

          C.           Unusual Events.      The Charter School agrees to timely notify CSUSA of
any anticipated or known: (i) material health or safety issues, (ii) labor, employee or
funding problems, or (iii) problems of any other type that could adversely affect CSUSA
in complying with its responsibilities hereunder.

          D.           Retained     Authority.    The       Board    shall   retain   the   authority   to make
reasonable        regulations      relative to anything       necessary      for the proper      establishment,
maintenance, management, and carrying on of the Charter School, including regulations
relative to the conduct of pupils while in attendance at the Charter Schoo! or en route to
and from the Charter School.

        E.     Food Service.     The Charter School shall be managed, operated and
administered by or shall otherwise provide authority to CSUSA to manage, operate and
administer the Food Service for the Charter School including but not limited to cause all
conditions necessary to satisfy all requirements of the Federal Statutes regarding the
National School Lunch Program at 7 C.F.R. §210.1, et seq.

                                             ARTICLE V
                                     FINANCIAL ARRANGEMENTS

          A.           Revenues.      Except as hereinafter provided, all monies               received by the
Board shall be deposited in the Charter School’s depository account with a financial


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institution acceptable to the Board and CSUSA. The signatories on the account shall only
be the Board members or designees of the Board, or designated CSUSA employees
designated by the Board. Interest income earned on Charter School depository accounts
shall accrue to the Charter School. Except as specifically excluded by the terms of this
Agreement, the term “Revenues” shall include all funds received by or on behalf of the
Charter School, including but not limited to:

          1.           Funding for public school students enrolled in the Charter School.

          2.           Special education funding provided by Federal, State and Local
                       Governments to the Charter School that is directly allocable to special
                       education students in the Charter School.

          3.           Gifted   and     Talented   funding   provided    by   Federal,   State   and   Local
                       Governments that is directly allocable to Gifted and Talented students in the
                       Charter School.

          4.           At-Risk Funding provided by Federal, State and Local Governments to the
                       Charter School that is directly allocable to At-Risk students in the Charter
                       School.

          5.           Funding provided by Federal, State and Local Governments to the Charter
                       School that is directly allocable to students in the Charter School with
                       limited English proficiency.

          6.           Federal, State and Local grant sources, including Title I and Charter School
                       startup funds, which is directly allocable to the Charter School.

          7.           Governmental grants received by the Charter School (except to the extent
                       CSUSA is not required or involved in soliciting, administering, or managing
                       such grants and/or donations).

          8.           Fees charged to students and others for extra services as and to the extent
                       permitted by law (all of the above are hereinafter collectively referred to as
                       the “Revenues”). Non-governmental grants and donations received by, and
                       separately procured by, the Charter School shall not be considered
                       Revenues.

        The Board may advance funds to CSUSA for the fees or expenses associated with
the Charter School’s operation provided that documentation for the fees and expenses are
provided for Board ratification. The Revenues shall be expended by CSUSA in accordance
with the approved Budget and as otherwise authorized by the Board. The expenditure of
Revenues received from governmental entities shall be consistent with all applicable
regulations and policies, and in the case of private donations, the directives of the donor
where applicable. To the extent that there are not sufficient funds in the Operating Account
to pay Operating Expenses (excluding fees to CSUSA                      under this Agreement), CSUSA


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 may, at CSUSA’s option, deposit funds into the Charter School Operating Accounting
 (“Operating Advances”). Operating Advances can only be made in accordance with the
 approved Annual Budget. The Charter School shall reimburse CSUSA all Operating
 Advances, together with interest earned thereon from Total Revenues as and when the
 funds become available; provided, however, that if at the end of each Fiscal Year Total
 Revenues, after payment of Debt Service and Operating Expense, are insufficient to
 reimburse all Operating Advances attributable to such Fiscal Year, CSUSA may forgive
 the un-reimbursed balance of Operating Advances, including interest earned thereon. At
 all times, any advances issued by CSUSA shall be made only with the consent of Charter
 School.

         B.      Budget.    CSUSA shall manage the budget, accounting, and financial
 reporting functions for the Charter School in accordance with the Requests of the Sponsor,
 the provisions of the Charter Contract and the approved Annual Budget by the Board.
 Charter School must maintain sufficient funds in its budget for independent legal counsel,
 an independent auditor, and sufficient funds to hire staff or other consultants necessary to
 oversee the performance of the School.

          CSUSA shall prepare and submit to the Charter School for its approval for each
 Fiscal Year (July 1-June 30), an Annual Budget for the Charter School.         Each Annual
 Budget shall state an estimate for the coming Fiscal Year for (i) Total Revenues; (ii)
 Operating Expenses; (iii) Reserve Expenses; (iv) Audit Expenses; and (v) Fund Balance.

          Reserve Expenses means the amount of money reflected in the Annual Budget that
 CSUSA must deposit into an account for Reserve Expenses. The Reserve Expense Account
 shall be used for the establishment of reasonable reserves for long-term renewal and
replacement of the School Facility or portions thereof. CSUSA shall obtain approval from
the Charter School to withdraw funds from the Reserve Expense Account. There shall be
a goal of 1% of funding per year for both the reserve and fund balance.

        (i)     CSUSA shall submit to the Charter School for its review and approval a
preliminary Annual Budget for each Fiscal Year for the Charter School, on or before June
30th of the current Fiscal Year. It is the intent of this provision that CSUSA prepare and
submit to the Charter School a balanced Annual Budget, which shall provide for full
payment of the (i) Total Revenues; (ii) Operating Expenses; (iii) Reserve Expenses, (iv)
Audit Expenses and (v) Fund Balance with respect to the Charter School.

       (ii) | The Charter School must notify CSUSA in writing that it approves the
Annual Budget within thirty (30) days of submission by CSUSA, which approval shall not
be unreasonably withheld or delayed. If the Charter School does not approve the Annual
Budget, the Charter School shall give specific reasons therefore and continue to deposit the
balance of Total Revenues into the Charter School Operating Account pursuant to its
obligations in Article V. If the Charter School does not approve the Annual Budget within
thirty days of submission by CSUSA, Charter School shall be deemed to approve the
Annual Budget. CSUSA and the Charter School acknowledge that a Final Budget shall
                                                                                  be
completed no later than August Ist.


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           (iii)   _ CSUSA        may amend the Annual Budget(s) not less frequently than semi-
 annually in order to reflect the results of the most recent student count and may make such
 other modifications as it may from time to time find necessary. Any such amendment shall
 only be valid if approved by the express vote of the Board. CSUSA shall report any
 changes upon which the Annual Budget was based within fifteen days after CSUSA
 becomes aware of any such change.

           (iv)    | CSUSA        shall operate and manage the Charter School according to its
 Annual Budget.

        (v) | CSUSA shall use reasonable efforts to operate the Charter School within its
 Annual Budget.

          Cc.          Compensation.         CSUSA shall receive compensation (the compensation”)
 in the amounts specified in Exhibit “A” hereto, payable monthly in arrears in substantially
 equal monthly installments during such year. The compensation shall be consistent with
 all applicable law and regulation. To the extent any compensation shall be unpaid at the
 end of any (past and future) Fiscal Year, such unpaid compensation shall be deferred and
 due when the School has available net operating revenue.

          D.           Availability       of Funds.      CSUSA      shall only be required            to perform   its
 responsibilities under this Agreement to the extent that there are sufficient Revenues to
 make payments in accordance with the terms of the Budget.

          E.           Financial Reporting.           CSUSA shall provide the Board with:

                       l.       The projected Annual            Budget as required by the terms of this
                                Agreement.

                       2.       Detailed statements of all Revenues received, and detailed
                                statements of all expenditures for services and or expenses rendered
                                or incurred to or on behalf of the Charter School, whether incurred
                                on-site or off-site, upon request.

                       3.       Financial statements by the 30" day of the following month as
                                required by law or charter contract, including a balance sheet and
                                statement of revenues and expenditures.

                       4.       Other information on a periodic basis to enable the Board to (i)
                                monitor CSUSA’s performance and the efficiency of its operation
                                of the Charter School, and (ii) furnish reports and information which
                                the Charter School is required to provide pursuant to its Charter
                                Contract and/or applicable laws.
          F.           Audit.
                       1.       Charter     School's    board    will    select   and   retain   an     independent


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 accounting (“Independent Auditor’) firm to perform an annual financial audit.
                 2.     CSUSA Records related to Charter School management will be
 available to Independent Auditor.
                 3.     CSUSA shall cooperate with Independent Auditor in its preparation
 of annual audit.

         G.       Access to Records.        CSUSA shall keep accurate financial records
 pertaining to its operation of the Charter School, together with all Charter School financial
 records prepared by or in possession of CSUSA, and shall retain all of the said records for
 a period of time as may be required by the Charter Contract. CSUSA and the Charter
 School shall maintain the proper confidentiality of personnel, students, and other records
 as required by law.

         H.    Review of Operational Budget.        The Board shall be responsible for
 reviewing and approving the Annual Budget of the Charter School as presented by CSUSA.

          I.     Annual Audit. The Board shall select and retain an independent auditor,
 to conduct an annual audit of the Charter School in accordance with the Charter School’s
 authorizing documents. Subject to applicable law, all finance and other records of CSUSA
 related to the Charter School will be made available to the Charter School’s independent
 auditor.

          J.      Start-up Operating Losses. With Charter School approval, CSUSA may,
 in its sole discretion, provide funds for operating losses for the Charter School during the
 startup period. CSUSA advances shall be budgeted and shall be in amounts acceptable to
 CSUSA. CSUSA shall be reimbursed from the Revenues as and when funds are available.
 Advances shall not be made for the fees comprising Compensation on Exhibit A.

          K.           Marketing.   Marketing and development costs paid by or charged to the
 Charter School shall be limited to those costs specific to the Charter School program and
 may include costs for the marketing and development of the Charter School.

                                         ARTICLE VI
                                    PERSONNEL & TRAINING

         A.    Personnel Responsibility,      CSUSA shall select and hire qualified
 personnel to perform services at the Charter School. Personnel shall be employees of
 CSUSA, unless otherwise agreed by CSUSA and the Board. Each party shall be responsible
 for all compensation for their respective employees. The compensation of all employees
 will be paid in accordance with the approved Annual Budget referenced in Article V of this
 Agreement. CSUSA shall have the responsibility and authority to determine staffing levels,
 and to select, evaluate, assign, discipline, transfer and terminate personnel consistent with
 state and federal law.

        B.       School Administrator.     The accountability of CSUSA to the Charter
 School is an essential component of this Agreement. Since the responsibility of the School


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 Administrator is critical to the Charter School’s success, CSUSA             shall have the authority,
 consistent with state law, to select and supervise each School Administrator and to hold
 the School Administrator accountable for the success of the Charter School. CSUSA shall
 consult with the Board with respect to the hiring of the School Administrator, and CSUSA
 shall remove the School Administrator from the Charter School if the Board is reasonably
 dissatisfied with his or her performance.

          Cc.         Teachers.     CSUSA    shall   determine   the number     of teachers,   and   the
 applicable grade levels and subjects, required for the operation of the Charter School.
 CSUSA shall provide the Charter School with such teachers, qualified in the grade levels
 and subjects required, as are required by the Charter School. The curriculum taught by such
 teachers shall be consistent with the Educational Program.               Such teachers may, in the
 discretion of CSUSA, work at the Charter School on a full or part time basis. If assigned
 to the Charter School on a part time basis, such teachers may also work at other schools
 managed or operated by CSUSA. Each teacher assigned to the Charter School shall have
 such credentials, certifications and experience as may be required under the Charter
 Contract and applicable laws and shall undergo a criminal background check as if such
 teacher was employed by the Charter School.

          D.          Support Staff.   CSUSA shall determine the number and the functions of
 support staff required for the operation of the Charter School. CSUSA shall provide the
 Charter School with qualified staff to efficiently operate the Charter School in accordance
 with the Charter Contract. The support staff may, in the discretion of CSUSA, work at the
 Charter School on a full or part time basis. If assigned to the Charter School on a part time
 basis, the support staff may also work at other schools managed or operated by CSUSA.

          E.          Training.     CSUSA   shall provide     training   in its methods,   curriculum,
program, and technology to all teaching personnel on a regular basis. Instructional
personnel shall receive at least the minimum hours of professional development required
by applicable laws. Non-instructional personnel shall receive such training as CSUSA
determines reasonable and necessary under the circumstances.

          F.          Limitations on Discretion.          All decisions made by CSUSA,         and any
discretion exercised by CSUSA, in its determination of staffing levels and its selection
                                                                                          ,
evaluation, assignment, discipline, and transfer of personnel, shall be consistent with the
approved Annual Budget, local, state and federal law, and consistent with the parameters
adopted by the board and included within the Educational Program.


                                            ARTICLE VII
                                             DEFAULT

        A.      Default. An event of default (“Event of Default”) by either party shall
                                                                                        be
limited to the following:

         1.           The Charter School fails to make any payment due hereunder within ten


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                       (10) days after the date such payment was due.

           2.          The Charter School materially breaches any of its other obligations under
                       this Agreement and fails to cure such material breach within sixty (60) days
                       after notice of such breach.

           3.          If CSUSA shall under such law as shall be applicable to it commence any
                       case or proceeding, or file any petition in bankruptcy, or for reorganization,
                       liquidation or dissolution, or be adjudicated, insolvent or bankrupt, or shall
                       apply to any tribunal for a receiver, intervener, conservator or trustee for
                       itself or for any substantial part of its property;      or if there shall be
                       commenced against it any such action and the same            shall remain   un-
                       dismissed for more than sixty (60) days.

           4.          If CSUSA is found by an administrative or judicial body to have made
                       fraudulent use of funds, or if an administrative or judicial body has revoked
                       any license that may be required for CSUSA to carry on its business and
                       perform its obligations and functions under this Agreement.

          5.           If CSUSA materially breaches this Agreement. Material Breach includes (i)
                       failure to account for its expenditures or pay the Charter School’s operating
                       costs (provided funds are available to do so), (ii) failure to follow policies,
                       procedures, rules or curriculum duly adopted by the Board which is not in
                       violation of this Agreement or the law, or (iii) insufficient progress has
                       made in attaining student achievement objectives of the Agreement and the
                       Charter Contract, and it is not likely that such objectives can be achieved
                       before expiration of this Agreement, (iv) if the health, safety, or welfare
                                                                                                   of
                       the students is threatened, (v) violation of law, (vi) the revocation,
                       suspension or termination of licenses/certifications needed for any Charter
                       School operations solely as direct result of an act or failure to act by
                       CSUSA, and (vii) the revocation by the sponsor of the Charter Contract
                       solely as the direct result of an act or failure to act CSUSA. In the event of
                       a material breach, CSUSA shall have (60) days after receipt of written
                       notice to remedy said breach.

         B.     Remedies. Upon the occurrence of an uncured Event of Default by either
party, the non-breaching party shall be entitled to pursue all remedies available under
                                                                                        law
or equity, including without limitation, terminating this Agreement upon
                                                                         seven (7) days
prior written notice. In the event of termination of this Agreement for any reason by
                                                                                      either
party prior to the end of this Agreement’s term, CSUSA may, for a fee reasonab
                                                                                         ly
acceptable to CSUSA, provide the Charter School reasonable assistance for up
                                                                                   to thirty
(30) days to assist in the transition to another administrative or structural
                                                                              arrangement
(although CSUSA shall not be required to provide any assistance to another
                                                                              management
company or service provider). However, CSUSA will abide by all state laws
                                                                               that govern
transition obligations, including but not limited to:



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      e    Transfer to such entity of all student records;
      e    Transferring any and all other non-proprietary information and providing necessary
           assistance to the new program or education service provider to ensure the least
           disruption of the Charter School operation as a result of the termination of this
           agreement;
      e    Transferring and/or assigning to the Charter School all contracts, agreements,
           licenses, permissions, and other rights and privileges related to the operation of the
           Charter School;       including,   at CSUSA’s     option,   assignment   of contracts   for
           Personnel.


                                           ARTICLE VIII
                                         INDEMNIFICATION

           Each party to this Agreement does hereby indemnify and hold harmless the other,
 and the Sponsor, and their respective boards of directors, partners, officers, employees,
 agents, representatives,        and attorneys from and against any and all claims, actions,
 damages, expenses, losses or awards which arise out of (i) its negligence, (ii) its action
 taken or not taken, or (iii) its noncompliance or breach of any of the terms, conditions,
 warranties, representations, or undertakings contained in or made pursuant to this
 Agreement. As used in this subsection, “party” shall include the party’s trustees, directors,
 officers, employees, agents, representatives and attorneys. Such indemnification may be
 achieved by the joint purchase of general liability and property insurance policies, or by
 such other means as the parties may mutually agree.
                                              ARTICLE Ix
                                              INSURANCE

           A.           Insurance Coverage.     Each party shall maintain such insurance:in the
 coverage amounts as may be required by the Charter Contract, with the other party listed
 as an additional insured. Revenues from the Charter School will be used to purchase
 insurances defined in the Charter Contract to operate the Charter School, including the
 provision of Directors & Officers Liability insurance for the Board. Each party shall, upon
 request, present evidence to the other that it maintains the requisite insurance in compliance
 with the provisions of this paragraph. Each party shall comply with any information or
 reporting requirements required by the other party’s insurers, to the extent reasonably
 practicable.

          B.     Workers’ Compensation Insurance. Each party shall maintain workers’
 compensation insurance as required by the Charter Contract and applicable laws, covering
 their respective employees.


                                        ARTICLE X
                             WARRANTIES AND REPRESENTATIONS




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         A.     Charter School Warranties and Representations. The Charter School
 represents that it has the authority under law to execute, deliver and perform this
 Agreement and to incur the obligations provided for under this Agreement. The Board
 warrants that its actions have been duly and validly authorized, and that it will adopt any
 and all resolutions or expenditure approvals required for execution of this Agreement.

          B.           CSUSA    Warranties      and        Representations.    _CSUSA    warrants   and
 represents that it is a limited liability company authorized to conduct business in the State
 of South Carolina. CSUSA will comply with all registration and licensing requirements
 relating to conducting business under this Agreement. The Charter School agrees to assist
 CSUSA in applying for such licenses and permits and in obtaining such approvals and
 consents.

         C.      Mutual Warranties. The Charter School and CSUSA mutually warrant to
 the other that there are no pending actions, claims, suits or proceedings, to its knowledge,
 threatened or reasonably anticipated against or affecting it, which if adversely determined,
 would have a material adverse effect on its ability to perform its obligations under this
 Agreement.

                                           ARTICLE XI
                                         MISCELLANEOUS

          A.           Sole Agreement. This Agreement supersedes and replaces any and all prior
 agreements and understandings between the Charter School and CSUSA.

          B.     Force Majeure. Notwithstanding any other sections of this Agreement,
 neither party shall be liable for any delay in performance or inability to perform due to acts
 of God or due to war, riot, embargo, fire, explosion, sabotage, flood, accident, labor strike,
 or other acts beyond its reasonable control; provided either party may terminate this
 Agreement in accordance with the termination provisions contained in this Agreement if
 sufficient grounds exist as provided in the Article of this Agreement governing termination.

          C.           State Governing Law/Waiver of Jury Trial.              The rights of all parties
hereto shall be subject to the jurisdiction of and be construed according to the laws of the
 State of South Carolina, and subject to venue in the jurisdiction where the Charter School
is located.     CSUSA and the Charter School hereby waive the right to a jury trial in any
action, proceeding or counterclaim brought by either CSUSA or the Charter School against
the other.

          D.           Agreement in Entirety.     This Agreement is intended to conform to the
obligations and requirements of the Charter School Contract between Charter School and
Sponsor, and this Agreement is hereby modified to incorporate or alter any provision
required to accomplish that purpose. As so modified, this Agreement constitutes the entire
agreement of the parties.




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         E.     Official Notices. All notices and other communications required by the
 terms of this Agreement shall be in writing and sent to the parties hereto at the facsimile
 number or address set forth below. Notice may be given by: (i) by facsimile with written
 evidence of confirmed receipt by the receiving party of the entire notice, (ii) certified or
 registered mail, postage prepaid, return receipt requested, or (iii) personal delivery. Notice
 shall be deemed to have been given on the date of transmittal or personal delivery if given
 by facsimile or personal delivery, or upon the date of postmark if sent by certified or
 registered mail. Notices to the Charter School shall be sent to the current address of the
 then current Board President or Chairman, with a copy to the then current Board attorney.
 The address of the parties hereto for the purposes aforesaid, inclusive of the address of the
 initial Board President or Chairman and Board attorney, are as follows:

 Charter School:
        Dr. Stewart Weinberg, President/Board Chair
        103B Howard Mary Drive
        Charleston, South Carolina, 29412
        Phone: (843) 901-8018

 with a copy to:
         Stafford J. McQuillan
         J.W. Matthews, III
         Haynsworth Sinkler Boyd, P.A.
          134 Meeting Street, 3" Floor
          Charleston, South Carolina     29401
          Phone:       (843) 724-1120


 CSUSA:
       Chairman, Chief Executive Officer
       800 Corporate Drive #124
       Ft. Lauderdale, FL 33334
       Phone: 954-202-3500
       Fax: 954-202-2047

with a copy to:
        Tripp Scott, P.A.
        Attn: Ecard J. Pozzuoli
        110 S.LE. Sixth Street, 15th Floor
        Fort Lauderdale, FL 33301
        Phone: 954-525-7500
          Fax:    954-761-8475

        F.     Assignment.          Either party may assign this Agreement   with the written
consent of the other.




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         G.     Amendment. This Agreement shall not be altered, amended, modified or
 supplemented except in writing and approved by the Board and signed by both the
 President or Chairman of the Board and the CEO of CSUSA.

         H.      Waiver. No waiver of any provision of this Agreement shall be deemed or
 shall constitute a waiver of any other provision. Nor shall such waiver constitute a
 continuing waiver unless otherwise expressly stated.

           I.           Cost and Expenses.     If any party commences an action against another
 party as a result of a breach or alleged breach of this Agreement, the prevailing party shall
 be entitled to have and recover from the losing party its reasonable costs and attorneys’
 fees (including those incurred at appellate levels).

           J.           Delegation of Authority.   Nothing in this Agreement shall be construed as
 delegating to CSUSA powers or authority of the Board, which are not subject to delegation
 by the Board under applicable law.

           K.           Compliance with Law.       The parties to this Agreement agree to comply
 with all applicable laws and regulations.

           L.           Compliance with Charter Contract. The parties to this Agreement agree
 to comply with the terms and conditions set forth in the Charter Contract.

           M.           CSUSA is nota   third party beneficiary of the Charter or the Charter School's
                               contract with Sponsor;

                                  SIGNATURE PAGE TO FOLLOW




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            IN WITNESS WHEREOF, the undersigned have executed this Agreement as of
  the date and year first above written.


  CSUSA

                              ae       ot od       pene              °

  By: ...                a
  Name                                   nN
  Title:            ce                    E            a
  Date:       _&-        GQ                        _



  Charter School
                    4.                         ,
  By:        Vi                    a           bib.
  NameyStewart Weinberg, Ph.D.
  Titlé President/ Board Chairperson
  Date: August 8, 2016


                                                            EXHIBIT “A”

                                                           COMPENSATION


  Category                              .                                      Percentage of Revenue
  Personnel Management Costs                                                   3.0%
  Procurement/Vendor Management Costs                                          1.0%
  Educational Intellectual Property & Curriculum Costs                         4.0%
  Finance & Accounting Services Costs                                          2.0%
  Support Center General Overhead & Fee                                        5.0%




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